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Attorneys for Ryan and Lesley Porter,
    Debtors and Debtors-In-Possession

                    IN THE UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF ARIZONA

In Re:                                )            In Proceedings Under Chapter 11
                                      )
RYAN JOSEPH PORTER and                )            Case No.: 2:18-bk-01984-MCW
LESLEY MARIE PORTER,                  )
                                      )                DEBTORS’ APPLICATION TO
               Debtors and            )                EMPLOY SPECIAL COUNSEL
               Debtors-in-Possession. )
                                      )

         Pursuant to 11 U.S.C. § 327 through § 331 and Bankruptcy Rule 2016, Ryan and

Lesley Porter, (“We” or “Debtors”) hereby submit this Application to Employ David W.

Williams, Davis Miles McGuire Gardner, PLLC, (the “Firm”), as special counsel to provide

litigation defense of pending Berkshire Life Insurance Company of America lawsuit. In

support of this Application, Debtors state:

         1.    Debtors their Voluntary Petition under Chapter 11 of U.S. Bankruptcy Code

               on March 2, 2018.

         2.    Debtors have continued in possession of their property as Debtors-In-

               Possession and are now, and desire to continue, operating their business

               and managing their property and financial affairs.

         3.    Debtors have selected Mr. Williams & the Firm to serve as special litigation

               counsel for a lawsuit filed in the District Court related to a disability




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             insurance policy, as Mr. Williams has considerable experience in matters of

             this character.

      4.     The terms of employment are as stated in the Firm’s engagement letter, a

             copy of which is attached as Exhibit “A.”

      5.     The services to be performed do not include general consultation regarding

             the administration of these Chapter 11 proceedings, but will be limited to

             handling the District Court litigation.

      6.     To the best of Debtors’ knowledge, and also based upon the Firm’s

             Certification of Disinterestedness, which is attached as Exhibit “B,” and

             incorporated herein by reference, the Firm does not hold or represent any

             interest adverse to the Debtors or the Estate in the matters in which it is to

             be engaged.

      7.     The Firm will make periodic applications for interim compensation as well

             as a final application for compensation at the conclusion of the engagement

             pursuant to 11 U.S.C. §§ 328-331.

      8.     The Firm understands that no compensation for services rendered shall be

             paid except upon the Application to, and approval by, the Bankruptcy Court.

      9.     The Firm has not shared or agreed to share compensation with any other

             persons or entities.

      WHEREFORE, Debtors pray that the Court approve the appointment of David W.

Williams of Davis, Miles, McGuire, Gardner, PLLC, as special counsel for litigation

defense, only, as set forth above.

      DATED this 13th day of April, 2018.

                                          KAHN & AHART, PLLC
                                             BANKRUPTCY LEGAL CENTER™

                                          /s/ James F. Kahn, SBN003063
                                          James F. Kahn
                                          Attorney for Ryan and Lesley Porter,
                                                 Debtors and Debtors-in-Possession

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